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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   ERIC V. KERSTEN, Bar #226429
     Assistant Federal Defender
 3   Designated Counsel for Service
     2300 Tulare Street, Suite 330
 4   Fresno, California 93721-2226
     Telephone: (559) 487-5561
 5
     Attorney for Defendant
 6   Carlos Martinez
 7                               IN THE UNITED STATES DISTRICT COURT
 8                             FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,             )            NO. 1:10-cr-00380 LJO
                                           )
11                     Plaintiff,          )            STIPULATION TO CONTINUE SENTENCING
                                           )            HEARING AND ORDER
12         v.                              )
                                           )
13   CARLOS MARTINEZ,                      )            Date: November 28, 2011
                                           )            Time: 1:00 p.m.
14                     Defendant.          )            Judge: Hon. Lawrence J. O’Neill
     _____________________________________ )
15
16          IT IS HEREBY STIPULATED by and between the parties hereto through their respective counsel,
17   KAREN A. ESCOBAR, Assistant United States Attorney, counsel for plaintiff, and ERIC V. KERSTEN,
18   Assistant Federal Defender, counsel for defendant, Carlos Martinez, that the date for sentencing may be
19   continued to November 28, 2011, or the soonest date thereafter that is convenient to the court. The date
20   currently set for sentencing is November 4, 2011, at 9:00 a.m. The requested new date is November
21   28, 2011, at 1:00 p.m.
22          Mr. Martinez is housed in Lerdo and is attempting to qualify for a reduction in sentence pursuant
23   to the safety valve provision of the sentencing guidelines. The government agreed that Martinez could
24   fulfill the debriefing requirement by means of a written proffer and Martinez was transported from Lerdo
25   on October 24 and interviewed by defense counsel to allow for preparation of the statement. However,
26   counsel had further questions when preparing the formal statement and Martinez had to be transported
27   again, on October 31, to clarify these issues. Martinez’s statement was then provided to the government
28   on the afternoon of October 31 and, after review with the agents, the government has requested that one
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 1   additional issue be addressed by Mr. Martinez. In addition, counsel was only able to finalize the
 2   defendant’s sentencing memorandum after meeting with Mr. Martinez on October 31, and that document
 3   was filed on November 1, 2011. The government needs additional time to respond to Martinez’s
 4   memorandum prior to sentencing. Based on the foregoing, the parties request that sentencing be
 5   continued.
 6            The parties agree that the delay resulting from the requested continuance shall be excluded as
 7   necessary for effective defense preparation, and also for continuity of counsel, pursuant to 18 U.S.C.
 8   § 3161(h)(7)(A) and (B)(iv). For this reason, the ends of justice served by the granting of the requested
 9   continuance outweigh the interests of the public and the defendants in a speedy trial.
10
11                                                               BENJAMIN B. WAGNER
                                                                 United States Attorney
12
13            DATED: November 2, 2011                         By /s/ Karen A. Escobar
                                                                 KAREN A. ESCOBAR
14                                                               Assistant United States Attorney
                                                                 Attorney for Plaintiff
15
16                                                               DANIEL J. BRODERICK
                                                                 Federal Defender
17
18            DATED: November 2, 2011                         By /s/ Eric V. Kersten
                                                                ERIC V. KERSTEN
19                                                              Assistant Federal Defender
                                                                Attorney for Defendant
20                                                              Carlos Martinez
21
22
                                                              ORDER
23
              IT IS SO ORDERED. The intervening period of delay is excluded in the interests of justice
24
     pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv).
25
26                                                               IT IS SO ORDERED.
27   Dated:       November 2, 2011                          /s/ Lawrence J. O'Neill
     b9ed48                                             UNITED STATES DISTRICT JUDGE
28


     Martinez: Stipulation to Continue Sentencing and Order      2
